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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                    CASE NO. 1:21-cv-20262-PCH
                                  (CASE NO. 1:19-cr-20424-CMA-1)

  DANIEL GRIFFIN,

          Movant,

  vs.

  UNITED STATES OF AMERICA,

          Respondent.
                                           /

                          ORDER DISMISSING MOTION TO VACATE
                           WITHOUT PREJUDICE AS PREMATURE

          THIS CAUSE is before the Court upon Movant Daniel Griffin’s (“Movant”) pro se

  Motion to Vacate, filed pursuant to 28 U.S.C. § 2255. [ECF No. 1] (“Motion”). Movant requests

  an extension of time to file a more complete Motion to Vacate, alleging that his counsel was

  ineffective for failing to file a direct appeal. But in fact, Movant’s direct appeal in his criminal case

  is currently pending before the Eleventh Circuit. See [USCA11 No. 20-10704]. It is well-settled

  that a § 2255 motion should be dismissed where a direct appeal is pending since collateral relief

  and direct appeal relief cannot be pursued simultaneously. The Eleventh Circuit has held that,

  absent extraordinary circumstances, a defendant may not seek collateral relief while his direct

  appeal is pending, as the outcome of the direct appeal may negate the need for habeas relief. United

  States v. Khoury, 901 F.2d 975, 976 (11th Cir. 1990).

          Movant is advised that if he intends to challenge his conviction on the basis of actual

  innocence, that claim can and should be raised on direct appeal. Under the procedural default rule,

  “a defendant generally must advance an available challenge to a criminal conviction or sentence
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  on direct appeal or else the defendant is barred from presenting that claim in a § 2255 proceeding.”

  Lynn v. United States, 365 F.3d 1225, 1234 (11th Cir. 2004)(per curiam). As for Movant’s claim

  that his counsel was ineffective during the criminal proceedings, that claim is normally presented

  by way of a § 2255 motion and must be raised within a year of the date his conviction becomes

  final. See Massaro v. United States, 538 U.S. 500, 504 (2014) (finding that claims of ineffective

  assistance of counsel are more properly brought under § 2255 rather than on direct appeal); 28

  U.S.C. § 2255(a) and (f).

         A judgment of conviction generally becomes final when the opportunity for direct appeal

  has been exhausted. Akins v. United States, 204 F.3d 1086, 1089 n.1 (11th Cir. 2000). As noted

  above, the filing of a notice of appeal divested this Court of jurisdiction to entertain a collateral

  attack upon the validity of the conviction and sentence. United States v. Dunham, 240 F.3d 1328,

  1329 (11th Cir. 2001). The appropriate course of action is to dismiss the Motion without prejudice.

  Blair v. United States, 527 F. App’x 838 (11th Cir. 2013). Movant is free to refile his § 2255 if it

  concerns a matter appropriate to be raised after the direct appeal is concluded. Khoury, 901 F.2d

  at 969 n.20. Accordingly, it is

         ORDERED AND ADJUDGED that the Motion to Vacate [ECF No. 1] is DISMISSED

  WITHOUT PREJUDICE and this case is CLOSED.

         DONE AND ORDERED, in Miami, Florida, on January 22, 2021.



                                                ______________________________
                                                PAUL C. HUCK
                                                UNITED STATES DISTRICT JUDGE




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